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 1   Bruce Locke (#177787)

 2   Moss & Locke

 3   4354 Town Center Blvd., #114-59

 4   Eldorado Hills, CA 95762

 5   916-719-3194

 6   Attorneys for Kioni M. Dogan

 7

 8                                  UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES,                                  No. 16-CR-0199 GEB
12                     Plaintiff,
13          v.                                       STIPULATION AND PROPOSED ORDER
                                                     CONTINUING THE STATUS
14   Kioni M. Dogan                                  CONFERENCE SET FOR JANUARY 20,
                                                     2017 TO MARCH 24, 2017 AT 9:00 A.M.
15                     Defendants.
16

17
             IT IS HEREBY STIPULATED AND AGREED between the defendants, Kioni Dogan,
18
     Gloria Harris, and Lavonda Bailey, by and through their undersigned defense counsel, and the
19
     United States of America, by and through its counsel, Assistant U.S. Attorney Jared Dolan, that
20
     the status conference presently set for January 20, 2017 should be continued to March 24, 2017 at
21
     9:00, and that time under the Speedy Trial Act should be excluded from January 20, 2017 through
22
     March 24, 2017.
23
            The reason for the continuance is that Mr. Locke and other defense counsel need
24
     additional time to review the discovery and to conduct investigation. The defense has been
25
     advised that additional discovery is being supplied this week. The exclusion of time is also
26
     necessary to ensure continuity of counsel. Accordingly, the time between January 20, 2017 and
27
     March 24, 2017 should be excluded from the Speedy Trial calculation pursuant to Title 18, States
28
                                                    1
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 1   Code, Section 3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation.             The parties

 2   stipulate that the ends of justice served by granting this continuance outweigh the best interests of

 3   the public and the defendants in a speedy trial. 18 U.S.C. §3161(h)(7)(A). Mr. Dolan, Mr. Foster

 4   and Mr. Wilson have authorized Mr. Locke to sign this pleading for them.

 5   DATED: January 18, 2017                       /s/ Bruce Locke
                                                   BRUCE LOCKE
 6                                                 Attorney for Kioni Dogan
 7
     DATED: January 18, 2017                       /s/ Bruce Locke
 8                                                 For GREGORY FOSTER
                                                   Attorney for Gloria Harris
 9

10   DATED: January 18, 2017                       /s/ Bruce Locke
                                                   For ROBERT WILSON
11                                                 Attorney for LAVONDA BAILEY
12
     DATED: January 18, 2017                       /s/ Bruce Locke
13                                                 For JARED DOLAN
                                                   Attorney for the United States
14

15

16
            The Court finds, for the reasons stated above, that the ends of justice served by granting
17
     this continuance outweigh the best interests of the public and the defendants in a speedy trial, and,
18
     therefore.
19
            IT IS SO ORDERED.
20
21   Dated: January 18, 2017

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